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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE

                                                    MDL No. 2875
  IN RE: VALSARTAN, LOSARTAN,
  AND IRBESARTAN PRODUCTS                           Honorable Robert B. Kugler,
  LIABILITY LITIGATION                              District Court Judge


  This Document Relates to All Actions


        DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants submit this Notice of Supplemental Authority concerning

 Plaintiffs’ Motion for Class Certification (ECF No. 1747), and Defendants’

 opposition to the same (ECF No. 2008).

       The United States Court of Appeals for the Fifth Circuit recently issued a

 decision in Earl v. Boeing, No. 21-40720, 2022 WL 17088680 (5th Cir. Nov. 21,

 2022), decertifying a class of consumers and holding that the case must be dismissed

 for lack of Article III standing, which the court recognized as “an inherent

 prerequisite to the class certification inquiry.” Id. at *2 (internal quotations omitted).

 Earl is instructive because the theory of economic injury at issue was strikingly

 similar to the one advanced by Plaintiffs here.

       The plaintiffs in Earl alleged the defendants fraudulently concealed defects in

 the Boeing 737 MAX 8 aircraft, thereby placing passengers at risk of serious injury

 or death. Id. at *3. The FAA issued an emergency order grounding the MAX 8 after
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 two fatal crashes, but not before thousands of consumers purchased tickets and

 completed trips on the aircraft. Id. at *2. The plaintiffs in Earl—none of whom were

 involved in a crash or otherwise suffered physical injuries—alleged they endured

 economic harm “because the ticket prices they paid ‘were significantly higher than

 the value of those tickets, which for many, if not most, passengers was zero.’” Id. at

 *3. The plaintiffs in Earl maintained they would have never flown on a MAX 8

 aircraft had they been aware of the concealed defects and, therefore, the tickets they

 had purchased before FAA grounded the MAX 8 fleet were economically worthless.

       The Fifth Circuit, relying on recent Supreme Court decisions in TransUnion

 LLC v. Ramirez, ––– U.S. ––––, 141 S. Ct. 2190 (2021) and Spokeo, Inc. v. Robins,

 578 U.S. 330 (2016), rejected plaintiffs’ theory of standing and economic harm. The

 court found that the plaintiffs failed to “plausibly allege[] that they’re any worse off

 financially” as a result of defendants’ alleged conduct. Rather, the court determined

 plaintiffs likely benefited from the availability of the MAX 8 because, had the MAX

 8 fleet been grounded sooner, plaintiffs “would have had to take different, more

 expensive (or otherwise less desirable) flights instead.” Id. at *4.

       Here, Plaintiffs have advanced the exact same “zero value” theory of

 economic injury to support class certification that was rejected by the Fifth Circuit

 in Earl. Plaintiffs seek to recover the purchase price of their valsartan-containing

 drugs (“VCDs”) because of the potential presence of nitrosamine impurities, which



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 purportedly rendered the medication “illegal” to sell and therefore “worthless.” Like

 the passengers in Earl who arrived safely at their destinations despite the defects in

 the MAX 8 that prompted FAA to ground the entire fleet, Plaintiffs here have

 admitted the VCDs they purchased were efficacious in controlling their hypertension

 without causing any untoward side effects. Moreover, just as the plaintiffs in Earl

 benefited from the availability of the MAX 8 aircraft to drive down ticket prices,

 Plaintiffs reaped the reward of competition among manufacturers of generic VCDs

 and, in any event, would have still been required to purchase medication to control

 their hypertension even if Defendants’ VCDs were no longer on the market. These

 facts, which require an individualized inquiry with respect to each putative class

 member, demonstrate that Plaintiffs’ proffered theory of economic injury is

 fundamentally flawed and should be rejected.



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                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 5, 2022, I electronically filed the

 foregoing with the Clerk of the Court by using the CM/ECF system which will send

 a notice of electronic filing to all CM/ECF participants in this matter.

                                               /s/ Clem C. Trischler
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